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                                                                                              United States Bankruptcy Court
                                                                                                  Southern District of Texas

                               UNITED STATES BANKRUPTCY COURT                                        ENTERED
                                 SOUTHERN DISTRICT OF TEXAS                                         August 12, 2022
                                       HOUSTON DIVISION                                           Nathan Ochsner, Clerk


In re:                                                     §
                                                           §       Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                                 §       Chapter 11 (Subchapter V)
                                                           §
         Debtor.                                           §

         ORDER MODIFYING INTERIM ORDER AUTHORIZING DEBTOR’S USE OF CASH
             COLLATERAL AND PROVIDING PARTIAL ADEQUATE PROTECTION

         On August 11, 2022, the above-captioned debtor and debtor-in-possession (the “Debtor” or “FSS”)

in the above-captioned chapter 11 case (the “Case”), filed its Emergency Motion to Amend Interim Order

Authorizing the Use of Cash Collateral after due deliberation and consideration and sufficient cause appearing

therefor;

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                   Motion Granted. The Motion is hereby granted on an interim basis as set forth herein.

                   Interim Order. The Interim Order shall be modified as follows:

         The Debtor is authorized to instruct its credit card processor to remit to Blue Ascension, LLC its
         fulfillment charges as set forth in the Motion, from the daily settlement contemporaneously with the
         distributions to FSS and PQPR
                   Reporting. The Debtor shall report each Tuesday for the preceding calendar week reflecting

weekly sales and disbursement of the proceeds of those sales. A copy of the report shall be forwarded to the

U.S. Trustee, the Subchapter V Trustee, counsel for PQPR and Jarrod Martin as a representative of the

Connecticut and Texas plaintiffs.

                   The remaining terms, findings and provisions of the Interim Order are not amended or

modified and remain in effect.

         Houston, Texas
         Dated: August ___,12,
                   August
                   August   2022
                             02,2022
                                 2019

                                                               UNITED STATES BANKRUPTCY JUDGE
